
721 S.E.2d 227 (2012)
STATE of North Carolina
v.
Gregory Mark BROWN.
No. 555P11.
Supreme Court of North Carolina.
January 26, 2012.
Kimberly N. Callahan, Assistant Attorney General, for State of North Carolina.
Daniel M. Blau, for Brown, Gregory Mark.
Roxann Vaneekhoven, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed by State of NC on the 22nd of December 2011 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
Upon consideration of the petition filed on the 22nd of December 2011 by State of NC in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th of January 2012."
